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                          IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF OKLAHOMA


IN RE:
                                                       Case No.: BK-18-14846-JDL
JUDITH DARLENE SNOW,                                   Chapter 13

         DEBTOR.


               SECOND AMENDED CREDITOR’S WITNESS AND EXHIBIT LIST

       COMES NOW the Creditor, QUICKEN LOANS INC., (“QUICKEN”), through its undersigned
counsel, and hereby submits its Second Amended Witness and Exhibit List for the hearing scheduled for
April 12, 2019 on Debtor’s Amended Objection to Proof of Claim #1 (Doc. 48) and Debtor’s
Amended Motion for Determination of Fees, Expenses, or Charges Pursuant to Rule 3002.1(E)
(Doc. 47). QUICKEN continues to reserve the right to amend these lists as equity may require and/or
allow.

                                            WITNESSES

No. Name                     Address             Proposed Testimony
1.  Michael L.               1544 Old            Will testify to amount of work, skill and knowledge
    McCormick                Alabama Rd.         required to receive, process and prepare bankruptcy
                             Roswell, GA         Proof of Claim matters along with reasonableness of
                             30076               fees and expenses challenged herein.
                             (678) 281-3918
2.   Bret D. Davis           5613 N. Classen     Will testify to amount of work, skill and knowledge
                             Blvd.               required to receive, process and prepare foreclosure
                             Oklahoma City,      matters and/or bankruptcy Proof of Claim matters along
                             OK 73118            with reasonableness of fees and expenses challenged
                             (405) 840-5900      herein.
3.   O. Clifton Gooding      204 N. Robinson     Will testify to amount of work, skill and knowledge
                             Ave.                required to receive, process and prepare bankruptcy
                             Suite 650           Proof of Claim matters along with reasonableness of
                             Oklahoma City,      fees and expenses challenged herein
                             OK 73102
                             (405) 948-1978
4.   Kim Jenkins             Baer Timberlake,    Will testify to amount of work, skill and knowledge
                             P.C.                required to receive, process and prepare foreclosure
                             4200 Perimeter      matters along with reasonableness of fees and expenses
                             Center, Suite 100   challenged herein.
                             Oklahoma City,
                             OK 73102
                             (405) 842-7722
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No. Name                      Address              Proposed Testimony
5.  All witnesses of other
    parties not objected to
    by QUICKEN
6.  Records custodians                             Identify and/or authenticate Creditor’s exhibits

                                              EXHIBITS

No.                                         EXHIBIT
1.    Invoice(s) for Foreclosure Fees and Expenses
2.    Invoice(s) for Bankruptcy Fees and Expenses
3.    Pleadings and Claims Filed herein
4.    Note dated March 16, 2017
5.    Mortgage dated March 16, 2017 recorded March 29, 2017 in Book 13395 Page 629 of the Oklahoma
      County Clerk
6.    Any exhibit needed for impeachment or rebuttal purposes
7.    Debtor’s exhibits not objected to by QUICKEN




                                                    QUICKEN LOANS INC.




                                   By:         s/ Matthew J. Hudspeth
                                               MATTHEW J. HUDSPETH - #14613
                                               JIM TIMBERLAKE - #14945
                                               Baer Timberlake, P.C.
                                               4200 Perimeter Center, Suite 100
                                               Oklahoma City, OK 73102
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                                               mhudspeth@baer-timberlake.com
                                               Attorney for Creditor




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                                    CERTIFICATE OF SERVICE

I hereby certify that I mailed a true and correct copy of the above and foregoing Second Amended Witness and
Exhibit List with postage thereon fully prepaid to the parties listed below on March 22, 2019.

Judith Darlene Snow
1713 Hampton Dr.
Oklahoma City, OK 73115

      The following persons should have received notice of the above and foregoing instrument on the
same day it was filed by the Court’s CM/ECF Electronic Noticing System.

John T. Hardeman
P.O. Box 1948
Oklahoma City, OK 73101

Jason A. Sansone
Sansone Howell PLLC
Arvest Bank Tower, Suite 500
4600 SE 29th St
Del City, OK 73115
                                    By:         s/ Matthew J. Hudspeth____________
                                                MATTHEW J. HUDSPETH - #14613
                                                JIM TIMBERLAKE - #14945
                                                Baer Timberlake, P.C.
                                                4200 Perimeter Center, Suite 100
                                                Oklahoma City, OK 73102
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